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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION

 BEN ASAYAG, on behalf                  *
 of himself and all others similarly    *
 situated,                              *
                                        *
 Plaintiffs,                            *         CIVIL ACTION FILE
                                        *         NO. 1:16-CV-62186-UU
 vs                                     *
                                        *
 OPTIMUM OUTCOMES, INC.,                *
                                        *
 Defendant,                             *

               STIPULATION OF DISMISSAL WITH PREJUDICE

        NOW COME the parties, by and through their undersigned counsel of record,

 and pursuant to Fed. R. Civ. P. 41(A)(1)(a)(ii), hereby stipulate to the dismissal of

 this action with prejudice.

        This 7th day of December, 2016.

        /s/ Harlan S. Miller                           /s/ Matthew R. Rosenkoff
        Harlan S. Miller                               Matthew R. Rosenkoff
        Georgia Bar No. 506709                         Florida Bar No. 15690
        Miller Legal, P.C.                             Taylor English Duma LLP
        3646 Vineville Avenue.                         1600 Parkwood Circle
        Macon, Ga., 31204                              Suite 400
        hmiller@millerlegalpc.com                      Atlanta, Ga., 30339
        Counsel for Plaintiff                          mrosenkoff@taylorenglish.com
                                                       Counsel for Defendant




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 \                        CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on December 7, 2016, he electronically
 filed the foregoing with the clerk of Court using the CM/ECF system which will
 automatically send email notification of such filing to the attorneys of records as
 follow:

 Matthew R. Rosenkoff

        This 7th day of December, 2015.

                                          /s/ Harlan S. Miller, III
                                          Harlan S. Miller
                                          Georgia Bar No. 506709




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